                                                      February 28, 2023

VIA CM/ECF

Hon. Michael J. Roemer
United States Magistrate Judge
Robert H. Jackson United States Courthouse
2 Niagara Square
Buffalo, New York 14202

       RE:     Lakehal-Ayat v. St. John Fisher College, et al.; 18-CV-6916

Dear Judge Roemer:

        The Glennon Law Firm, P.C. represents Plaintiff Merouane Lakehal-Ayat
(“Plaintiff”) in this matter. I am writing to request a six-month extension of the deadlines
in the current scheduling order, including the upcoming March 1 deadline to file motions
to compel. See Text Order issued December 16, 2022 (Dkt. 59). Counsel for the defendants
also joins in this request.

         The parties are considering the possibility of mediation and settlement discussions
at this juncture. To afford the parties’ ample time to conduct these discussions, as well as
to schedule and complete depositions in the event these discussions are unproductive, the
parties believe that a six-month adjournment of the current deadlines is appropriate in the
circumstances.

        Accordingly, we respectfully request that all deadlines in the current Amended
Scheduling Order (Dkt. 59) be extended by six months. This is the seventh request overall
by either party for an extension of time in this matter.

       Should this request meet the Court’s approval, a “So Ordered” line is provided
below for the Court’s convenience.

                                                      Respectfully submitted,

                                                      /s/ Stephanie B. Hoffmann

                                                      Stephanie B. Hoffmann

cc: Stephen J. Jones, Esq. (counsel for Defendants)




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                                                   SO ORDERED:


                                                   Honorable Michael J. Roemer

ENTER:                       , 2023
